     Case 3:20-cv-02584-N Document 22 Filed 12/15/20   Page 1 of 22 PageID 181



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

JANE DOE,                             §
                                      §
              Plaintiff               §
                                      §     C.A. NO. 3:20-cv-02584-N
v.                                    §
                                      §     JURY DEMANDED
SOUTHERN METHODIST                    §
UNIVERSITY,                           §
                                      §
              Defendant.              §

        PLAINTIFF’S RESPONSE TO DEFENDANT SOUTHERN METHODIST
        UNIVERSITY’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
                              COMPLAINT



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     Case 3:20-cv-02584-N Document 22 Filed 12/15/20                                          Page 2 of 22 PageID 182



                                                 TABLE OF CONTENTS


I.    INTRODUCTION AND ISSUES PRESENTED ................................................................... 1

II. STANDARD FOR A RULE 12(B)(6) MOTION TO DISMISS ............................................ 2

III. PLAINTIFF SUFFICIENTLY STATES TITLE IX CLAIMS ............................................... 3

          A.        Plaintiff sufficiently states a Title IX claim because Plaintiff establishes
                    “after-the-fact” deliberate indifference. .................................................................. 4

          B.        Plaintiff sufficiently states a Title IX claim because Plaintiff establishes
                    “before-the-fact” deliberate indifference. ............................................................... 5

IV. PLAINTIFF HAS ALLEGED VIABLE STATE LAW CLAIMS ....................................... 10

          A.        SMU Owed Extensive Duties to Plaintiff ............................................................. 10

                    1.         SMU Owed Duties Under the Texas Multi-Factor Duty
                               Assessment ................................................................................................ 10

                    2.         The “No Duty To Aid” Rule Does Not Apply Since SMU Took
                               Affirmative Actions That Increased the Likelihood That Plaintiff
                               Would Be Raped ....................................................................................... 12

                    3.         SMU Owes a Duty to Train its Employees Who Were Tasked With
                               Responding to Sexual Assault Reports ..................................................... 14

                    4.         Special Relationship.................................................................................. 14

          B.        Plaintiff’s Breach of Contract Claim .................................................................... 15

V. ALTERNATIVE MOTION FOR LEAVE TO AMEND...................................................... 16

VI. CONCLUSION ..................................................................................................................... 16




                                                                     i
   Case 3:20-cv-02584-N Document 22 Filed 12/15/20                                         Page 3 of 22 PageID 183



                                              TABLE OF AUTHORITIES

Cases
Allen v. A & T Transp. Co.,
        79 S.W.3d 65, 70 (Tex.App.-Texarkana 2002, pet. denied) ............................................. 14

Ashcroft v. Iqbal,
       556 U.S. 662, 678 (2009) .................................................................................................... 2

Bell Atl. Corp. v. Twombly,
        550 U.S. 544, 570 (2007) .......................................................................................... 2, 9, 10

Davis v. Monroe County Bd. of Ed.,
       526 U.S. 629, 640-41 (1999) ...................................................................................... 3, 4, 8

Doe v. E. Haven Bd. of Educ.,
       200 Fed. Appx. 46 (2d Cir. 2006) ....................................................................................... 4

Doe v. Oyster River Co-op. Sch. Dist.,
       992 F. Supp. 467 (D.N.H. 1997) ......................................................................................... 4

Doe v. Sch. Admin. Dist. No. 19,
       66 F. Supp. 2d 57 (D. Me. 1999) ........................................................................................ 4

Doe v. U. of Tennessee,
       2016 WL 2595795 (M.D. Tenn. May 3, 2016) ............................................................... 6, 8

Doe v. Univ. of Miss.,
       2019 WL 238098, at *5 (S.D. Miss. Jan. 16, 2019)............................................................ 9

Franklin v. Gwinnett County Pub. Schools,
       503 U.S. 60, 75 (1992) ........................................................................................................ 3

Gebser v. Lago Vista Indep. Sch. Dist.,
      524 U.S. 274, 290 (1998) ................................................................................................ 4, 8

Golden Spread Council, Inc. No 562 of Boy Scouts of America v. Akins,
      926 S.W.2d 287, 289-290 (Tex. 1996) ................................................................. 11, 12, 13

Hernandez v. Baylor Univ.,
      274 F. Supp. 3d 602, 612 (W.D. Tex. 2017)............................................................... 13, 14

Jackson v. Birmingham Bd. of Educ.,
       544 U.S. 167, 179 (2005) ................................................................................................ 2, 3

Janga v. Colombrito
       358 S.W.3d 403 (2011) ..................................................................................................... 14



                                                                   ii
   Case 3:20-cv-02584-N Document 22 Filed 12/15/20                                             Page 4 of 22 PageID 184



Kelly v. Yale U.,
        2003 WL 1563424 (D. Conn. Mar. 26, 2003) .................................................................... 4

King v. S. Methodist Univ.,
       No. 3:14-CV-3391, 2015 WL 12723026, at *2 (N.D. Tex. Apr. 27, 2015) ....................... 4

Lormand v. US Unwired, Inc.,
      565 F.3d 228, 232 (5th Cir. 2009) ...................................................................................... 2

North Haven Bd. of Educ. v. Bell,
       456 U.S. 512, 521 (1982) .................................................................................................... 2

Otis Engineering Corp. v. Clark
       668 S.W.2d 307, 309 (1983) ............................................................................................. 12

Patino v. Complete Tire, Inc.,
       158 S.W.3d 655, 660 (Tex.App. - Dallas 2005) ............................................................... 14

Pederson v. La. State Univ.,
      213 F.3d 858, 881 (5th Cir. 2000) ...................................................................................... 3

Scheuer v. Rhodes,
      416 U.S. 232, 236 (1974) .................................................................................................. 10

Simpson v. Univ,
      500 F.3d 1170 (10th Cir.) ............................................................................................... 6, 8

United States v. Price,
       383 U.S. 787, 801 (1966) .................................................................................................... 3

Walker v. Beaumont Indep. Sch. Dist.,
      938 F.3d 724, 735 (5th Cir. 2019) ...................................................................................... 2

Williams v. Bd. of Regents of U. System of Georgia,
       477 F.3d 1282 (11th Cir. 2007) .................................................................................. 4, 5, 6

Williams v. United Pentecostal Church Intern.,
       115 S.W.3d 612 (Tex.App. - Beaumont 2013) ................................................................. 11

Statutes
20 U.S.C. § 1681(a) ........................................................................................................................ 3




                                                                     iii
   Case 3:20-cv-02584-N Document 22 Filed 12/15/20                                              Page 5 of 22 PageID 185



Other Authorities
Cantor, David, Bonnie Fisher, Susan Chibnall, Reanna Townsend, et. al. Association of
       American Universities (AAU), Report on the AAU Campus Climate Survey on
       Sexual Assault and Sexual Misconduct (January 17, 2020).............................................. 11

https://www.rainn.org/statistics/campus-sexual-violence ............................................................ 11

Aslam, Michelle, “Insufficient Evidence: Victims Accuse SMU of Mishandling Campus
       Sexual Assault,” SMU Daily Campus, Nov. 20, 2020,
       https://www.smudailycampus.com/news/insufficient-evidence-victims-accuse-
       smu-of-mishandling-campus-sexual-assault ....................................................................... 7

Restatement (Second) of Torts § 302B ......................................................................................... 13

Rules
Fed. R. Civ. P. 8(a)(2) ..................................................................................................................... 2

Fed. R. Civ. P. 12(b)(6)............................................................................................................... 2, 9

Fed. R. Civ. P. 15(a)(2) ................................................................................................................. 16




                                                                      iv
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                    Page 6 of 22 PageID 186



                    I.      INTRODUCTION AND ISSUES PRESENTED

       This case arises out of the rape of Plaintiff Jane Doe, a student at Southern Methodist

University (“SMU” herein) by an SMU football player, while both were students at SMU. Plaintiff

Jane Doe has filed a First Amended Complaint at Dkt. 14 (“FAC”), alleging causes of action

against Defendant SMU for Negligence and violation of Title IX of the Educational Amendments

of 1972 (“Title IX”). In response to Plaintiff Jane Doe’s FAC, Defendant SMU filed a Rule

12(b)(6) Motion to Dismiss Plaintiff's FAC at Dkt. 19 (“Motion to Dismiss”).

       Defendant's Motion presents the following issues: (1) Defendant claims that Plaintiff’s

FAC “fails to plead facts sufficient to state a legally cognizable claim for relief under Title IX,”

(2) Defendant claims that SMU was not “deliberately indifferent” to Plaintiff’s report of sexual

assault, and finally (3) Defendant claims that “no special relationship” exists between SMU and

Plaintiff, and there is no authority to support Plaintiff’s negligence claim. See Motion to Dismiss,

generally.

       As discussed in detail below, when read with the required liberality, the facts alleged, and

all reasonable inferences drawn from Plaintiff’s FAC support causes of action under Title IX.

Further, these same facts and inferences support the imposition of several duties on Defendant to

have taken reasonable action to prevent its student and football player from retaliating against Jane

Doe. As such, the FAC establishes SMU’s deliberate indifference to Plaintiff’s sexual assault

report, and sufficiently pleads legally viable claims which survive Defendant’s 12(b)(6) Motion to

Dismiss. Finally, to the extent this Court finds Plaintiff’s theories of liability deficient, Plaintiff

would request leave to amend to cure any deficiencies.




                                                  1
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                   Page 7 of 22 PageID 187



             II.     STANDARD FOR A RULE 12(B)(6) MOTION TO DISMISS

         “It is axiomatic that a complaint should not be dismissed unless ‘it appears beyond doubt

that the plaintiff can prove no set of facts in support of his claim which would entitle him to

relief.’” McLain v. Real Est. Bd. of New Orleans, Inc., 444 U.S. 232, 246 (1980) quoting Conley

v. Gibson, 355 U.S. 41, 45-46 (1957). Further, “[m]otions to dismiss under Rule 12(b)(6) are

viewed with disfavor and are rarely granted. Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th

Cir. 2009) (internal quotations omitted).

         Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). If a

plaintiff fails to satisfy Rule 8(a), the defendant may move to dismiss the plaintiff's claims for

“failure to state a claim upon which relief may be granted.” Id. 12(b)(6). To survive such

a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to “state

a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged. Id. In reviewing a motion to dismiss under Rule

12(b)(6), the court must accept all well-pleaded facts in the complaint as true and view them in the

light most favorable to plaintiff. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 735 (5th Cir.

2019).

         With respect to Title IX, the Supreme Court has recognized that, “[t]he statute is broadly

worded.” Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 179 (2005). Hence, “[t]here is no

doubt that ‘if we are to give [Title IX] the scope that its origins dictate, we must accord it a sweep

as broad as its language.’ ” North Haven Bd. of Educ. v. Bell, 456 U.S. 512, 521 (1982)




                                                  2
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                  Page 8 of 22 PageID 188



(quoting United States v. Price, 383 U.S. 787, 801 (1966)). Further, “[d]iscrimination is a term

that covers a wide range of intentional unequal treatment; by using such a broad term, Congress

gave the statute a broad reach.” Jackson, 544 U.S. at 175 (internal quotations omitted.) “Congress

enacted Title IX not only to prevent the use of federal dollars to support discriminatory practices,

but also to provide individual citizens effective protection against those practices.” Jackson, 544

U.S. at 180 (internal quotations omitted.) “Congress surely did not intend for federal moneys to be

expended to support the intentional actions it sought by statute to proscribe.” Franklin v. Gwinnett

County Pub. Schools, 503 U.S. 60, 75 (1992).

              III.    PLAINTIFF SUFFICIENTLY STATES TITLE IX CLAIMS

          Defendant seeks to dismiss Plaintiff’s causes of action which seek damages under Title IX.

Title IX states that “[n]o person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any education

program or activity receiving federal financial assistance.” 20 U.S.C. § 1681(a). Notably, to

violate Title IX, a funding recipient need not have intended to violate Title IX but need only have

intended to treat women differently. Pederson v. La. State Univ., 213 F.3d 858, 881 (5th Cir. 2000).

Under Title IX, a recipient of federal funds may be held liable “only for its own misconduct” and

not the misconduct of third parties. Davis v. Monroe County Bd. of Ed., 526 U.S. 629, 640-41

(1999).

          In order for an educational institution to be held liable under Title IX, a plaintiff must

prove: (1) the educational institution is the recipient of federal funding, (2) the institution acted

with deliberate indifference, (3) to sexual harassment/assault of which they had actual knowledge,

(4) that is so severe, pervasive and objectively offensive so as to deprive the victim of access to

the educational opportunities and/or benefits provided by the school. Davis at 650. With respect




                                                  3
     Case 3:20-cv-02584-N Document 22 Filed 12/15/20               Page 9 of 22 PageID 189



to deliberate indifference, it occurs when there is an “official decision by the recipient not to

remedy the violation.” Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998).

         Plaintiff’s claims are best characterized as deliberate indifference “before the fact” and

“after-the-fact.” See King v. S. Methodist Univ., No. 3:14-CV-3391, 2015 WL 12723026, at *2

(N.D. Tex. Apr. 27, 2015). Specifically, Plaintiff Jane Doe’s FAC supports a finding of liability

under Title IX based on (1) SMU’s deliberate indifference after Plaintiff’s rape (post-assault),

(2) SMU’s pre-assault deliberate indifference to sexual misconduct committed by its football

players, and (3) SMU’s general policy of indifference and intentional violation of Title IX.

A.       Plaintiff sufficiently states a Title IX claim because Plaintiff establishes “after-the-
         fact” deliberate indifference.

         An   institution   acts   with   “deliberate   indifference”   when    it's   response     to

known sexual harassment or sexual assault is “...clearly unreasonable in light of the known

circumstances.” Davis, 526 U.S. at 648. Several courts have opined as to what conduct amounts

to post-assault deliberate indifference. See Kelly v. Yale U., 2003 WL 1563424 (D. Conn. Mar. 26,

2003) (finding deliberate indifference where school engaged in a prompt grievance procedure but

failed to provide reasonable accommodations to the victim); Williams v. Bd. of Regents of Univ.

Sys. of Georgia, 477 F.3d 1282, 1297 (11th Cir. 2007) (recognizing an eleven-month delay in

concluding an investigatory process was clearly unreasonable); Doe v. E. Haven Bd. of Educ.,

200 Fed. Appx. 46 (2d Cir. 2006) (recognizing that a five-week delay in addressing report

of sexual assault supported a finding of deliberate indifference); Doe v. Sch. Admin. Dist. No. 19,

66 F. Supp. 2d 57 (D. Me. 1999); Doe v. Oyster River Co-op. Sch. Dist., 992 F. Supp. 467 (D.N.H.

1997).

         Similar to the above-cited cases, Plaintiff Jane Doe alleges that SMU delayed its judgment

(FAC at ¶62, ¶74, and ¶76), and failed to provide any reasonable accommodations to her, the



                                                 4
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                   Page 10 of 22 PageID 190



victim of sexual assault. (FAC at ¶73). Unlike these cases, here, Plaintiff Jane Doe actually alleges

that SMU took no action in response to her report that she had been raped by an SMU football

player. Plaintiff alleges that she sought reasonable accommodations, which were denied (FAC at

¶73). Even worse, when seeking reasonable accommodations, Plaintiff Jane Doe was informed

that she could move out of her dorm/student housing, in lieu of her rapist being relocated. Id.

       Finally, Plaintiff was not offered the opportunity to review any contradictory statements,

nor refute them. (FAC at ¶79). The only information provided to Plaintiff was that “two witnesses”

provided information inconsistent with her account. Id. She was not provided further information

regarding the alleged inconsistencies, was not even provided the identities of said witnesses, and

therefore had no opportunity to rebut or further appeal this alleged information. Id. Despite the

fact that Plaintiff offered evidence and witness corroboration to substantiate her allegations against

Assailant, no action was taken against him by the University. (FAC at ¶80). Notably, he continues

to perform well for SMU’s football program. Id. Upon information and belief, no further action

was taken against SMU as a result of Plaintiff’s courageous and timely report. Id.

       Surely, affirmatively misrepresenting that it could take action, and actually taking no

action, in response to Plaintiff’s report that she had been raped is “clearly unreasonable” in light

of any circumstances. Thus, Plaintiff’s FAC supports a finding of liability under Title IX

for SMU’s post-assault response to Plaintiff’s report that she was raped by another student and an

SMU football player.

B.     Plaintiff sufficiently states a Title IX claim because Plaintiff establishes “before-the-
       fact” deliberate indifference.

       Title   IX    liability   can   be   based     on   institutional   behavior   that   predates

the sexual assault. Williams v. Bd. of Regents of U. System of Georgia, 477 F.3d 1282 (11th Cir.

2007); Simpson v. U. of Colorado Boulder, 500 F.3d 1170 (10th Cir. 2007). An educational



                                                  5
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                  Page 11 of 22 PageID 191



institution acts with deliberate indifference when it admits a student-athlete with knowledge of

that athlete's prior sexual misconduct and fails to adequately supervise him. Williams, 477 F.3d.

1282. In Williams, the plaintiff was raped by several players on the University of Georgia's

(“UGA”) men's basketball team. Id.at 1288. One player, Tony Cole, was recruited by the

basketball coach and admitted through a special admissions process, despite the coaching staff's

knowledge that Cole engaged in sexual misconduct prior to attending UGA. Id. at 1296. The court

held that UGA demonstrated deliberate indifference, prior to the plaintiff's sexual assault, in part,

because    it   failed   to   adequately   supervise   Cole    despite   its   knowledge     of   his

past sexual misconduct. Id.

       An educational institution also acts with deliberate indifference when it fails to adequately

respond to a known problem of sexual violence within its football program. Simpson v. Univ, 500

F.3d 1170 (10th Cir.); see also Doe v. U. of Tennessee, 2016 WL 2595795 (M.D. Tenn. May 3,

2016). In Simpson, two female students were sexually assaulted by members of the school's

football team, and non-student football recruits at an off-campus party. Id. at 1173. The court

found a school's policies which have the effect to promote the possibility of sexual violence, their

inaction in the face of knowledge that sexual violence is prevalent, and/or their inaction despite

actual knowledge of sexual assaults that have occurred, amounts to deliberate indifference within

the meaning of Title IX. Id. at 1184. The court also found the risk in Simpson was obvious because

the school had general knowledge of the substantial risk of sexual assaults occurring during

recruiting trips, the school specifically knew that sexual assaults had occurred during prior

recruiting visits, and the school nevertheless maintained policies and procedures that proved

ineffective and inadequate in deterring sexual violence during recruiting efforts. Id. at 1184.




                                                 6
    Case 3:20-cv-02584-N Document 22 Filed 12/15/20                    Page 12 of 22 PageID 192



        Here, SMU violated Title IX based on its pre-assault conduct of maintaining Plaintiff’s

assailant as an unrestricted student in good standing, and by failing to respond adequately to a

known problem of sexual misconduct by its football players. (FAC at ¶29-32).                    Defendant

contends that Plaintiff’s “generalized, conclusory statements” regarding alleged reports of sexual

assault are not enough to survive its Motion to Dismiss. However, Plaintiff is not required to bring

evidence of these allegations at this stage. Plaintiff does have knowledge of other students at SMU

whose sexual assault allegations/Title IX investigations have been mishandled, and other instances

of sexual assault perpetrated by football players. Plaintiff Jane Doe cannot control, nor does she

purport to force other survivors of sexual assault (who have indeed reported to SMU, and also

were not given reasonable accommodations) to come forward. 1 In fact, six SMU students recently

came forward in an investigation by SMU’s own student publication, The Daily Campus, to note

their campus experiences of sexual assault. Id. at fn. 1. The students accuse SMU of not only

mishandling their cases, but subjecting victims to a harsh and even traumatic process.

        Notably, however, it is not what Plaintiff Jane Doe has knowledge of – but instead, what

SMU has knowledge of, and responded to with deliberate indifference, that is at issue with respect

to pre-assault indifference for purposes of claims under Title IX. Typically, Plaintiffs such as Jane

Doe are only able to affirmatively prove instances of pre-assault indifference with the aid of

discovery. In addition to broader University failings, discovery may also lead to evidence of

specific failings within both the football program, the housing/student accommodation authorities,

and the Athletics department leadership, including failures to identify and respond to patterns of




1
 See Michelle Aslam, “Insufficient Evidence: Victims Accuse SMU of Mishandling Campus Sexual Assault,” SMU
Daily Campus, Nov. 20, 2020, https://www.smudailycampus.com/news/insufficient-evidence-victims-accuse-smu-
of-mishandling-campus-sexual-assault.


                                                     7
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                   Page 13 of 22 PageID 193



sexual violence, and failures to provide appropriate accommodations (such as adequately safe

housing).

       As in Simpson and U. of Tennessee, here too, Plaintiff Jane Doe’s allegations support a

finding of deliberate indifference based on SMU’s conduct prior to Plaintiff’s rape. Plaintiff Jane

Doe’s allegations clearly evidence that SMU knew it had an up-and-coming football program

(FAC ¶¶46-51) in which (1) football players were sexually assaulting females (FAC ¶¶52-55),

(2) SMU’s personnel failed to take any action to control, or otherwise prevent SMU football

players and students from committing further sexual assaults (FAC ¶¶61-82), (4) football players

were given preferential treatment with respect to disciplinary procedures (Id.). Therefore, Plaintiff

has alleged sufficient facts to support a finding of Title IX liability based on SMU’s pre-

assault conduct.

C.     SMU’s Policy Of Indifference And Intentional Violation Of Title IX Support A
       Finding Of Liability Under Title IX

       An educational institution's intentional violation of Title IX can form the basis of liability

under Title IX, even absent actual knowledge of and deliberate indifference to a specific report

of sexual misconduct. See Davis, 526 U.S. at 642 (the actual notice requirement, “...is not a bar to

liability where a funding recipient intentionally violates the statute”); Gebser v. Lago Vista Indep.

Sch. Dist., 524 U.S. 274, 290 (1998) (“...in cases like this one that do not involve official policy of

the recipient entity, we hold that a damages remedy will not lie under Title IX...” absent an

institution's actual notice of sexual misconduct) (emphasis added).

       At the time of the conduct alleged in Plaintiff’s FAC, SMU exhibited a policy of

indifference in responding to reports of sexual assault, harassment, or retaliation, generally. The

FAC establishes that SMU wholly failed to provide training and education to Plaintiff and students

like her; failed to identify and train responsible employees under Title IX; failed to provide



                                                  8
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                  Page 14 of 22 PageID 194



clear information about reporting options and resources on campus; and failed to have a centralized

process for ensuring that all reports reached the Title IX Coordinator. (FAC ¶ 87).

       In addition, Plaintiff alleged that (1) SMU had a policy of refusing to provide reasonable

accommodations to female students who reported that they had been assaulted, (FAC ¶ 33, ¶ 73)

and (2) SMU had a policy of not responding to reports of retaliation (FAC ¶ 88). The Court should

indeed find it troubling that when SMU came into possession of new evidence, including evidence

that Plaintiff’s rapist was retaliating against and harassing her (FAC ¶ 35 – Plaintiff’s vehicle was

spat on and defaced, and Plaintiff received threatening and bullying messages via Instagram and

online platforms), that SMU chose not to act – instead of investigating the claims and behavior of

the assailant further in light of this new evidence. The inference of gender bias is further

exacerbated by the fact that Plaintiff was never given access to interviews with the assailant, any

evidence or testimony from other witnesses. (FAC ¶ 79-80).

       Plaintiff alleged that this bias of SMU was apparent in not allowing her any opportunity to

review the alleged contradictory statements/evidence, nor refute them. (Id. at FAC ¶ 79-80).

See Doe v. Univ. of Miss., 2019 WL 238098, at *5 (S.D. Miss. Jan. 16, 2019) (finding that Title

XI Coordinator’s lack of effort in compiling all the evidence, including exculpatory evidence,

before expelling the plaintiff was enough in part to state a plausible claim of gender bias).

Therefore, SMU is liable under Title IX, independent of its actions prior to and post Plaintiff Jane

Doe’s rape.

       Finally, Plaintiff Jane Doe would re-urge the standard to be applied on a Motion to Dismiss.

The Court's focus in a 12(b)(6) determination is not whether the plaintiff should prevail on the

merits but rather whether the plaintiff has failed to state a claim. Twombly, 550 U.S. at 563 n.8

(holding “when a complaint adequately states a claim, it may not be dismissed based on a district




                                                 9
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                    Page 15 of 22 PageID 195



court's assessment that the plaintiff will fail to find evidentiary support for his allegations or prove

his claim to the satisfaction of the factfinder.”); Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)

(overruled on other grounds) (finding the standard for a 12(b)(6) motion is “not whether a plaintiff

will ultimately prevail but whether the claimant is entitled to offer evidence to support the claims”).

        Thus, taking Plaintiff’s facts together and viewing them in the light most favorable to her,

the allegations state a plausible claim under Title IX. Further, and in light of the facts alleged,

further discovery is needed to ensure that Plaintiff’s Title IX protections were complied with.

While Defendant’s claims might ultimately be re-urged on summary judgment, at this stage

Plaintiff must only ““nudge[ her] claims across the line from conceivable to plausible.” Twombly,

550 U.S. at 570.

             IV.     PLAINTIFF HAS ALLEGED VIABLE STATE LAW CLAIMS

        SMU also moved to dismiss all of Plaintiff’s state law claims. As demonstrated below,

dismissal is not warranted.

A.      SMU Owed Extensive Duties to Plaintiff

        1.         SMU Owed Duties Under the Texas Multi-Factor Duty Assessment

        SMU’s motion demonstrates a profound misunderstanding of the concept of duty by

directly equating the existence of a duty with the existence of a special relationship. The two

concepts are not identical. Plaintiff has established a host of duties owed by SMU which are not

dependent on the existence of a special relationship. For example, under Texas law:

        [a]bsent a special relationship, the existence of a duty is a question of law for the
        court to determine from the particular facts of the case. [Citation.] In making that
        determination, we balance the risk, foreseeability and likelihood of injury, against
        the social utility of the actor's conduct, the magnitude of the burden of guarding
        against the injury, and the consequences of placing that burden on the defendant.
        [Citation.] The foremost and dominant consideration of these factors is
        foreseeability of the risk--although it alone will not warrant imposing a duty.




                                                  10
    Case 3:20-cv-02584-N Document 22 Filed 12/15/20                     Page 16 of 22 PageID 196



Williams v. United Pentecostal Church Intern., 115 S.W.3d 612 (Tex.App. - Beaumont 2013)

(unreported); see also Golden Spread Council, Inc. No 562 of Boy Scouts of America v. Akins, 926

S.W.2d 287, 289-290 (Tex. 1996).

        These factors favor the imposition of a duty. SMU was unquestionably aware of prior acts

of sexual assault by other students and potentially members of the football program. Given this

history, it was inevitable - let alone foreseeable - that a football player would sexually assault

another student if SMU did not respond appropriately. Thus, the most important factor strongly

favors the imposition of a duty. The related factors of risk and likelihood of injury similarly support

the existence of a duty because given the history of sexual assault on college campuses, generally,

the likelihood that another student would be raped if policies were not strictly adhered to was off

the     charts.     Sexual      violence       on     college      campuses        is    pervasive.       See

https://www.rainn.org/statistics/campus-sexual-violence. Among undergraduate students, 26.4%

of females and 6.8% of males experience rape or sexual assault through physical force, violence,

or incapacitation. 2

        While SMU, on the whole, provides services that are valuable to the community, its

football program does not carry the same utility and there is no value in protecting students who

have habitually assaulted others. Guarding against this injury would not have resulted in a

substantial burden. SMU was already subject to Title IX; it simply was not complying. SMU also

has sexual misconduct policies but chose not to apply them to Plaintiff Jane Doe and her rapist.

And, following Plaintiff’s report, when Plaintiff requested reasonable accommodations, SMU

refused. (FAC at ¶ 73.) When Plaintiff reported retaliatory actions and behavior by her assailant,


2
 David Cantor, Bonnie Fisher, Susan Chibnall, Reanna Townsend, et. al. Association of American Universities
(AAU), Report on the AAU Campus Climate Survey on Sexual Assault and Sexual Misconduct (January 17,
2020).



                                                     11
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                    Page 17 of 22 PageID 197



SMU did nothing. (FAC at ¶ 35-36). Finally, SMU possessed superior knowledge of the risk and

had the ability to control its employees (who tolerated sexual assault by football players), and its

players (who could have been disciplined under its sexual misconduct policies.) These factors

strongly support the imposition of duties upon SMU, to protect Plaintiff and other students like

her.

       2.      The “No Duty To Aid” Rule Does Not Apply Since SMU Took Affirmative
               Actions That Increased the Likelihood That Plaintiff Would Be Raped

       SMU argues that, absent a special relationship, it has no duty to “protect another from the

criminal acts of a third person or to control their conduct.” (Motion at p. 16.) But that rule is not

applicable here. It is well-established that:

       [w]hile a person is generally under no legal duty to come to the aid of another in
       distress, he is under a duty to avoid any affirmative act which might worsen the
       situation. One who voluntarily enters an affirmative course of action affecting the
       interests of another is regarded as assuming a duty to act and must do so with
       reasonable care.

Otis Engineering Corp. v. Clark, 668 S.W.2d 307, 309 (1983) (citations omitted.) This principal

was applied by the Supreme Court of Texas in a strongly analogous factual circumstance in Golden

Spread Council, Inc. v. Akins, 926 S.W.2d 287 (Tex. 1996). Citing its earlier opinion in Otis, the

court held that by introducing a suspected molester to the church who hired him, the council “could

be found to have actually increased the risk and likelihood of injury in this case. Id. at 289. We

have recognized that in some circumstances, at least, a person is under a duty to avoid such an

affirmative act that may actually worsen a situation.” Id. at 291.

       Like Akins, this is not a case where SMU merely sat by and did not take action to protect a

person in danger. Instead, SMU’s affirmative acts with regard to Plaintiff’s assailant

made sexual assault, and the harassment Plaintiff suffered after her sexual assault, more likely.

Undoubtedly, SMU entered into an affirmative course of action that placed the success of its



                                                 12
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                  Page 18 of 22 PageID 198



football program over the safety of its students. As in several cases stemming out of Baylor

University, where Pepper Hamilton found that the special treatment afforded to football players

accused of assault actually increased the risk of future sexual assaults by showing the players they

were not subject to rules applicable to others, SMU increased the risk to Plaintiff here –

specifically, by not even removing her rapist from her own student housing, and by not enforcing

anti-retaliation policies and no-contact orders. See Hernandez v. Baylor Univ., 274 F. Supp. 3d

602, 612 (W.D. Tex. 2017).

       The Court in Hernandez also cited to Akins – explaining further that:

       In evaluating the case, the Texas Supreme Court applied the multi-factor analysis
       to determine whether a duty might be imposed on the council. That analysis led the
       Court to conclude that the council did in fact owe a duty to the children and parents
       involved in the new troop….In doing so, it emphasized certain factors, “including
       whether one party has superior knowledge of the risk or the right to control the
       actor whose conduct caused the harm.” Id. Ultimately, the Court found that the
       council's duty was best stated by “comment e to Section 302B of the Restatement
       (Second) of Torts, which recognizes that there may be liability ‘[w]here the actor
       has brought into contact or association with the other a person whom the actor
       knows or should know to be peculiarly likely to commit intentional misconduct,
       under circumstances which afford a peculiar opportunity or temptation for such
       misconduct.’ ” Id. (citing Restatement (Second) of Torts § 302B, cmt. e, ¶ D).

Hernandez v. Baylor Univ., 274 F. Supp. 3d 602, 620 (W.D. Tex. 2017).

       The Court in Hernandez elaborated that Baylor was likely to have had far more information

about a football player’s history of sexual assault than did the Plaintiff and other students. Id. at

621. The Court stated that Baylor also allegedly had some ability to control the alleged assailant,

given the authority it had over him as a student and football player. Id. The Court therefore

concluded that Plaintiff has plausibly alleged a claim for negligence against Baylor. Id. Similarly,

here, SMU has far more information about assailant’s history of sexual assault, and certainly has

some ability to control and/or monitor his actions. As such, a claim for negligence is plausibly

alleged by Plaintiff Jane Doe against SMU.



                                                 13
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                 Page 19 of 22 PageID 199



       3.      SMU Owes a Duty to Train its Employees Who Were Tasked With Responding
               to Sexual Assault Reports

       “An employer has a duty to adequately hire, train, and supervise employees.” Patino v.

Complete Tire, Inc., 158 S.W.3d 655, 660 (Tex.App. - Dallas 2005), citing Allen v. A & T Transp.

Co., 79 S.W.3d 65, 70 (Tex.App.-Texarkana 2002, pet. denied). “The negligent performance of

those duties may impose liability on an employer if the complainant's injuries result from the

employer's failure to take reasonable precautions to protect the complainant from the misconduct

of its employees.” Id. SMU unquestionably delegated the responsibility of investigating and

responding to allegations of sexual assault. Despite this, SMU did not train or educate its

employees to carry out those duties competently. (FAC at ¶¶ 32, 35-36.) Defendant owed a duty

to properly train its employees but failed to do so. SMU is also responsible for the negligence of

its employees under the doctrine of respondeat superior, which allows for employer liability for

its “employee's negligence in the scope of the employment.” Janga v. Colombrito, 358 S.W.3d

403 (2011).

       In the Hernandez case, the Court clarified that although there is no statutorily-imposed

duty applicable, one may exist based on certain employees’ (there, head football Coach Art Briles

and former Baylor athletic director Ian McCaw) alleged knowledge and actions. The Court

therefore concluded that Plaintiff had plausibly alleged negligence claims against Defendant.

Hernandez v. Baylor Univ., 274 F. Supp. at 622.

       4.      Special Relationship

       SMU focuses extensively on the absence of a special relationship between itself and

Plaintiff. As discussed above, the existence or non-existence of a special relationship is largely a

red-herring given the several other duties SMU owed in this case which are not dependent on the




                                                14
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                  Page 20 of 22 PageID 200



existence of a special relationship. But, on a fundamental level, SMU’s argument is misplaced on

these facts.

        Defendant argues that courts have moved away from a policy of making universities the

insurers of their students' health and safety and are loathed to shift blame from rapists. But this is

not a case, like those cited by Defendants, where the plaintiff relies solely on a threat of harm

posed generally by all college students (though that harm is very real and should be taken seriously

by universities who are paid to educate, serve, and by extension – protect their students). The

policy underlying a duty assessment - and any common sense understanding of moral blame -

changes dramatically in cases like this, where Plaintiff reports her sexual assault, is retaliated

against for that report, and is not even given the barest of reasonable accommodations. (See FAC

¶35, ¶73). The law does not permit Defendant to tolerate the presence of a rapist and make Plaintiff

suffer the consequences of reporting her rape, without repercussion to the Defendant.

        SMU conveniently ignores other actions it could have taken, such as the football coach

imposing a curfew on the Assailant as a condition of regaining eligibility, which may have

prevented or at least discouraged further retaliation against Plaintiff. SMU also does not address

the fact that SMU refused to even relocate Plaintiff’s rapist – instead suggesting she herself could

move. (FAC ¶73). For the reasons discussed above, SMU owed and breached substantial duties.

B.      Plaintiff’s Breach of Contract Claim

        Plaintiff concedes that her state law claim for breach of contract is valid only insofar as

there may be a contractual agreement, such as for an athletic or academic scholarship, between

Plaintiff and SMU. Plaintiff has had no opportunity to conduct discovery in this matter; however,

should discovery reveal no such contract, Plaintiff will agree to dismiss her breach of contract

claim against SMU. Plaintiff requests leave to amend her FAC to further elaborate on this claim




                                                 15
  Case 3:20-cv-02584-N Document 22 Filed 12/15/20                 Page 21 of 22 PageID 201



should any such contract exist. Plaintiff is willing to provide her FERPA release to obtain any such

records.

                V.     ALTERNATIVE MOTION FOR LEAVE TO AMEND

       Plaintiff requests the Court deny Defendant’s Motion to Dismiss Plaintiff’s First Amended

Complaint. However, in the alternative, Plaintiff requests leave to amend its complaint. See Fed.

R. Civ. P. 15(a)(2).

                                     VI.     CONCLUSION

       Plaintiff’s allegations, and reasonable inferences drawn from them, support a conclusion

that SMU had an official policy of indifference, and intentionally violated Title IX.

       For the foregoing reasons, Plaintiff Jane Doe respectfully requests that this Court deny

Defendants' Motion to Dismiss Plaintiff’s First Amended Complaint in its entirety. In the

alternative, Plaintiff would respectfully request leave to amend her First Amended Complaint.

                                                     Respectfully submitted,

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                                                16
 Case 3:20-cv-02584-N Document 22 Filed 12/15/20              Page 22 of 22 PageID 202



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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

was served upon the following via CM/ECF pursuant to the Federal Rules of Civil Procedure on

this 15th day of December 2020:

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                                             17
